                   Case 3:23-cv-06261-JSC Document 11-1 Filed 12/06/23 Page 1 of 3
AO 440 (Rev. 06/12) Summons in a Civil Action




                                     UNITED STATES DISTRICT COURT
                                                             for the
                                                  Northern District of California

                                                                )
                                                                )
                       Viral DRM LLC                            )
                          Plaintiff(s)                          )
                                                                )
                                v.                              ) Civil Action No. 3:23-cv-06261-JSW
                                                                )
                                                                )
 John Doe 1 dba 4 Ever Green dba @4EverGreenYT, et al.          )
            See Additional Page for Full Caption                )
                          Defendant(s)                          )

                                        SUMMONS IN A CIVIL ACTION
 To: (Defendant’s name and address          JOHN DOE 2 dba BUENISIMO dba @BUENISIMOCANAL




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
 are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ. P.
 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of the
 Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney, whose
 name and address are:
                            Matthew Laurence Rollin
                            SRIPLAW, P.A.
                            matthew.rollin@sriplaw.com
                            8730 Wilshire Boulevard, Suite 350
                            Beverly Hills, CA - 90211
                            323.452-5600 – Telephone

         If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
 You also must file your answer or motion with the court.


                                                                      CLERK OF COURT


 Date:
                                                                                Signature of Clerk or Deputy Clerk
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Civil Action No. 3:23-cv-06261-JSW



                                              PROOF OF SERVICE
              (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

         This summons for (name of individual and title, if any)
was received by me on (date)                                        .
         ☐ I personally served the summons on the individual at (place)
                                                                           on (date)                          ; or
         ☐I left the summons at the individual’s residence or usual place of abode with (name)
                                                         , a person of suitable age and discretion who resides there,
         on (date)                         , and mailed a copy to the individual’s last known address: or
         ☐I served the summons on (name of individual)                                                        , who is
         designated by law to accept service of process on behalf of (name of organization)
                                                                           on (date)                          ; or
         ☐I returned the summons unexecuted because                                                                      ; or
         ☐Other (specify):


         My fees are $                     for travel and $                for services, for a total of $                       .


         I declare under penalty of perjury that this information is true.


Date:
                                                                                   Server’s signature


                                                                                 Printed name and title



                                                                                    Server’s address

Additional information regarding attempted service, etc.:
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                     UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF CALIFORNIA
                       CASE NO.: 3:23-cv-06261-JSW


VIRAL DRM LLC,

           Plaintiff,
v.

JOHN DOE 1 dba 4 EVER GREEN dba
@4EVERGREENYT,
JOHN DOE 2 dba BUENISIMO dba
@BUENISIMOCANAL,
JOHN DOE 3 dba DAILYTOP10S dba
@GLOBALLEAKS,
JOHN DOE 4 dba DBLNEWS dba
@DBLNEW,
JOHN DOE 5 dba DYNAMIC DISASTER
dba @DYNAMICDISASTER,
JOHN DOE 6 dba FUTURE UNITY dba
@FUTUREUNITY5129,
JOHN DOE 7 dba LAV LUKA dba
@LAVLUKA6210,
JOHN DOE 8 dba MIND WAREHOUSE dba
@MIND_WAREHOUSE,
JOHN DOE 9 dba O CANAL DO
OBSERVADOR dba
@CANALDOOBSERVADOR,
JOHN DOE 10 dba OTV dba
@OTVODISHA,
JOHN DOE 11 dba THE BEESLEYS dba
@THEBEESLEYS99,
JOHN DOE 12 dba THE ULTIMATE
DISCOVERY dba
@ULTIMATEDISCOVERY,
JOHN DOE 13 dba TOP FIVES dba
@TOPFIVES,
JOHN DOE 14 dba WEWIN ES -
DESASTRES NATURALES dba
@WEWINESCANAL and
JOHN DOE 15 dba WEWIN PT dba
@WEWINBRASIL

          Defendants,
